Case 22-11068-JTD   Doc 1688-2   Filed 06/22/23   Page 1 of 51




   EXHIBIT B
Internal CM/ECF Live Database                                                 https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD        Doc 1688-2      Filed 06/22/23     Page 2 of 51

                                               22-11068-JTD FTX Trading Ltd.
                                Case type: bk Chapter: 11 Asset: Yes Vol: v Judge: John T. Dorsey
                                       Date filed: 11/11/2022 Date of last filing: 06/21/2023



                                                         Attorneys


          Derek C. Abbott
          Morris, Nichols, Arsht & Tunnell
          1201 N. Market Street
          P.O. Box 1347
          Suite 1600                                                BlockFi Inc and affiliates
                                                     representing
          Wilmington, DE 19801                                      (Interested Party)
          (302) 658-9200
          302-658-3989 (fax)
          dabbott@morrisnichols.com
           Assigned: 11/15/2022
          Michael D. Anderson
          Kelly Hart & Hallman LLP
          201 Main Street, Suite 2500
          Fort Worth, TX 76102                                      Word of God Fellowship, Inc.
                                                     representing
          817-878-3506                                              (Creditor)
          michael.anderson@kellyhart.com
           Assigned: 12/12/2022
           LEAD ATTORNEY
          Richard D. Anigian
          Haynes and Boone, LLP
          2323 Victory Avenue
          Suite 700                                                 BlockFi Inc and affiliates
                                                     representing
          Dallas, TX 75219                                          (Interested Party)
          (214) 651-5000
          Rick.Anigian@haynesboone.com
           Assigned: 11/15/2022
          Daniel K. Astin
          Ciardi, Ciardi & Astin                                  Charles Mason
          1204 N. King Street                                     CIARDI CIARDI & ASTIN
          Wilmington, DE 19801                                    1905 Spruce Street
          (302) 658-1100                             representing Philadelphia, PA 19103
          (302) 658-1300 (fax)                                    215-557-3550
          dastin@ciardilaw.com                                    aciardi@ciardilaw.com
           Assigned: 12/19/2022                                   (Interested Party)
            TERMINATED: 06/08/2023
           Assigned: 12/19/2022                                   Peter Lau
           TERMINATED: 06/08/2023                    representing CIARDI CIARDI & ASTIN



1 of 50                                                                                                                6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD   Doc 1688-2      Filed 06/22/23     Page 3 of 51

                                                               1905 Spruce Street
                                                               Philadelphia, PA 19103
                                                               215-557-3550
                                                               aciardi@ciardilaw.com
                                                               (Interested Party)
           Assigned: 01/17/2023                              Edward Moncada
           TERMINATED: 06/08/2023                            c/o Waller Lansden Dortch & Davis, LLP
                                                             100 Congress Avenue
                                                             l 81h Floor
                                                representing
                                                             Attn: Morris D. Weiss
                                                             Austin, TX 78701
                                                             (Interested Party)
                                                             PRO SE
          Mary E. Augustine
          A M Saccullo Legal, LLC                            Celsius Network LLC
          27 Crimson King Drive                              The Harley Building
          Bear, DE 19701                                     77-00079 New Cavandish Street
                                                representing
          302-836-8877                                       London
          302-836-8787 (fax)                                 United Kingdom
          meg@saccullolegal.com                              (Creditor)
           Assigned: 12/02/2022
          James E. Bailey III
          Butler Snow LLP
          Crescent Center, Suite 500
          6075 Poplar Avenue, PO BOX 171443                    Evolve Bank & Trust
                                                representing
          Memphis, TN 38187                                    (Creditor)
          901-680-7347
          jeb.bailey@butlersnow.com
            Assigned: 11/22/2022
          Brett Bakemeyer
          White & Case LLP
          1221 Avenue of the Americas
                                                             Joint Provisional Liquidators of FTX Digital
          New York, NY 10020-1095
                                                representing Markets Ltd. (In Provisional Liquidation)
          212-819-8200
                                                             (Interested Party)
          brett.bakemeyer@whitecase.com
           Assigned: 11/22/2022
           LEAD ATTORNEY
          Jasmine Ball
          Debevoise & Plimpton LLP
          66 Hudson Boulevard
          New York, NY 10001                                   Paradigm Operations LP
                                                representing
          212-909-6000                                         (Interested Party)
          212-909-6839 (fax)
          jball@debevoise.com
           Assigned: 12/19/2022



2 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD   Doc 1688-2      Filed 06/22/23      Page 4 of 51

          David M. Banker
          Montgomery McCracken Walker &
                                                             Samuel L. Bankman-Fried
          Rhoads LLP
                                                             c/o Montgomery McCracken Walker & Rhoads
          437 Madison Avenue
                                                             1105 North Market Street, 15th Floor
          24th Floor
                                                representing Wilmington, DE 19801
          New York, NY 10022
                                                             3025047800
          (212) 867-9500
                                                             gdonilon@mmwr.com
          (212) 599-5085 (fax)
                                                             (Stockholder)
          dbanker@mmwr.com
           Assigned: 01/10/2023
          Jody C. Barillare
          Morgan, Lewis & Bockius LLP
          1201 North Market Street
          Suite 2201                                         Joint Provisional Liquidators of Emergent
          Wilmington, DE 19801                  representing Fidelity Technologies Ltd
          (302) 574-7294                                     (Liquidator)
          (302) 574-3001 (fax)
          jody.barillare@morganlewis.com
           Assigned: 01/03/2023
           Assigned: 02/13/2023                              Emergent Fidelity Technologies Ltd.
                                                             Unit 3B
                                                             Bryson's Commercial Complex
                                                representing Friars Hill Road
                                                             St. John's
                                                             Antigua and Barbuda
                                                             (Interested Party)
          Brandon Batzel
          White & Case LLP
          1221 Avenue of the Americas
          Ste Office 2720                                      Peter Greaves
                                                representing
          New York, NY 10020-1095                              (Interested Party)
          212-819-7098
          brandon.batzel@whitecase.com
           Assigned: 12/27/2022
                                                               Brian C. Simms
                                                               (Interested Party)
                                                               Kevin G. Cambridge
                                                               (Interested Party)
          Ronald S. Beacher
          Pryor Cashman LLP
          7 Times Square                                     SPCP Group, LLC
          New York, NY 10036                    representing rbeacher@pryorcashman.com
          212-326-0148                                       (Creditor)
          212-515-6959 (fax)
          rbeacher@pryorcashman.com


3 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD   Doc 1688-2      Filed 06/22/23    Page 5 of 51

           Assigned: 04/14/2023
                                                               SPCP Institutional Group, LLC
                                                               rbeacher@pryorcashman.com
                                                               (Creditor)
          Benjamin S Beller
          Sullivan & Cromwell LLP                            FTX Trading Ltd.
          125 Broad Street                                   10-00011 Mandolin Place, Friars Hill Road
          New York, NY 10004                    representing St. John's, AG AG-04
          212-558-4000                                       Antigua and Barbuda
          bellerb@sullcrom.com                               (Debtor)
           Assigned: 02/02/2023
          Ward W. Benson
          United States Department of Justice
          Tax Division
          P.O. Box 227
                                                             United States of America on behalf of the
          Ben Franklin Station
                                                representing Internal Revenue Service
          Washington, DC 20044
                                                             (Creditor)
          202-514-9642
          202-514-6866 (fax)
           Assigned: 12/12/2022
            TERMINATED: 01/26/2023
          Jeffrey Bernstein
          MCELROY, DEUTSCH, MULVANEY                         New Jersey Bureau of Securities
          & CARPENTER,                                       153 Halsey Street
          570 Broad Street                                   6th Floor
          Suite 1401                                         P.O. Box 47029
                                                representing
          Newark, NJ 07102-4560                              Newark, NJ 07102
          973-565-2183                                       United States
          973-622-5314 (fax)                                 973-504-3600
          jbernstein@mdmc-law.com                            (Creditor)
           Assigned: 02/14/2023
          Mark M. Billion
          Billion Law
          1073 S Governors Ave
                                                             3Commas Technologies OU
          Dover, DE 19904
                                                representing (Creditor)
          302.428.9400
                                                             PRO SE
          302.450.4040 (fax)
           Assigned: 02/01/2023
            TERMINATED: 03/27/2023
                                                               Nifty Island LLC
                                                               (Creditor)
                                                               PRO SE
          Gary D. Bressler                                     Philadelphia Indemnity Insurance Company
          McElroy, Deutsch, Mulvaney &          representing
                                                               (Creditor)



4 of 50                                                                                                          6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD   Doc 1688-2      Filed 06/22/23      Page 6 of 51

          Carpenter, LLP
          300 Delaware Ave.
          Suite 1014
          Wilmington, DE 19801
          302-300-4515
          302-654-4031 (fax)
          gbressler@mdmc-law.com
           Assigned: 11/18/2022
          Erin E. Broderick
          Eversheds Sutherland (US) LLP
          227 West Monroe Street, Suite 600
          Chicago, IL 60606                                  Ad Hoc Committee of Non-US Customers of
          (312) 724-9006                        representing FTX.com
          312-724-9322 (fax)                                 (Interested Party)
          erinbroderick@eversheds-
          sutherland.com
           Assigned: 12/04/2022
          James L. Bromley
          SULLIVAN & CROMWELL LLP
          125 Broad Street                                   FTX Trading Ltd.
          New York, NY 10004                                 10-00011 Mandolin Place, Friars Hill Road
          212-558-4000                          representing St. John's, AG AG-04
          212-558-3588 (fax)                                 Antigua and Barbuda
          bromleyj@sullcrom.com                              (Debtor)
           Assigned: 11/14/2022
           LEAD ATTORNEY
           Assigned: 05/10/2023                                Kevin G. Cambridge
                                                representing
                                                               (Interested Party)
                                                               Brian C. Simms
                                                               (Interested Party)
                                                               Peter Greaves
                                                               (Interested Party)
          Kimberly A. Brown
          Landis Rath & Cobb LLP
          919 N. Market Street
                                                             FTX Trading Ltd.
          Suite 1800
                                                             10-00011 Mandolin Place, Friars Hill Road
          PO Box 2087
                                                representing St. John's, AG AG-04
          Wilmington, DE 19899
                                                             Antigua and Barbuda
          302-467-4400
                                                             (Debtor)
          302-467-4450 (fax)
          brown@lrclaw.com
           Assigned: 11/14/2022
          Elisabeth Michaelle Bruce                          United States of America on behalf of the
          Department of Justice                 representing Internal Revenue Service



5 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                                https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD    Doc 1688-2      Filed 06/22/23        Page 7 of 51

          P.O. Box 227
          Ben Franklin Station
          Washington, DC 20044
          202-598-0969                                          (Creditor)
          202-514-6866 (fax)
          elisabeth.m.bruce@usdoj.gov
           Assigned: 01/12/2023
          William A. Burck
          Quinn Emanuel Urquhart & Sullivan,
          LLP                                                 FTX Trading Ltd.
          51 Madison Avenue                                   10-00011 Mandolin Place, Friars Hill Road
          22nd Floor                             representing St. John's, AG AG-04
          New York, NY 10010                                  Antigua and Barbuda
          (212) 849-7000                                      (Debtor)
          williamburck@quinnemanuel.com
           Assigned: 11/22/2022
           Assigned: 11/22/2022                                 United States
                                                 representing
           TERMINATED: 11/22/2022                               (Interested Party)
          Michael G. Busenkell
          Gellert Scali Busenkell & Brown, LLC
          1201 North Orange Street
          3rd Floor
                                                                M 7 Holdings, LLC
          Wilmington, DE 19801                   representing
                                                                (Interested Party)
          302.425.5812
          302.425.5814 (fax)
          mbusenkell@gsbblaw.com
           Assigned: 05/04/2023
          Aaron R. Cahn
          Carter Ledyard & Milburn LLP
          28 Liberty Street
          41st Floor
                                                                Cohen K Investments, Ltd.
          New York, NY 10005                     representing
                                                                (Creditor)
          212-238-8629
          212-732-3232 (fax)
          cahn@clm.com
           Assigned: 06/15/2023
                                                                Pi 1.0 LP
                                                                (Creditor)
                                                                Pi-Crypto Ltd.
                                                                (Creditor)
          Schuyler G. Carroll                                 Cedar Glade LP
          Loeb & Loeb LLP                                     Attn Robert Minkoff
          345 Park Avenue                        representing 600 Madison Ave., 17th Fl
          21st Floor                                          New York, NY 10022



6 of 50                                                                                                               6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD   Doc 1688-2      Filed 06/22/23      Page 8 of 51

          New York, NY 10154
                                                               646-979-4083
          212-407-4820
                                                               rminkoff@cedargladecapital.com
          scarroll@loeb.com
                                                               (Creditor)
           Assigned: 01/11/2023
          Frederick Chang
          RIMON, P.C.
          506 2nd Avenue
          Suite 1400                                           Bastion Worldwide Limited
                                                representing
          Seattle, WA 98104                                    (Creditor)
          (206) 331-3231
          frederick.chang@rimonlaw.com
            Assigned: 11/30/2022
          Ashley Rona Chase
          WHITE & CASE LLP
          1221 Avenue of the Americas
          New York, NY 10020-1095                              Brian C. Simms
                                                representing
          212-819-8200                                         (Interested Party)
          212-354-8113 (fax)
          ashley.chase@whitecase.com
           Assigned: 05/08/2023
                                                               Kevin G. Cambridge
                                                               (Interested Party)
                                                               Peter Greaves
                                                               (Interested Party)
          Jacquelyn H. Choi
          Rimon, P.C.
          2029 Century Park East
          Suite 400N                                           Bastion Worldwide Limited
                                                representing
          Los Angeles, CA 90067                                (Creditor)
          310-525-5859
          jacquelyn.choi@rimonlaw.com
            Assigned: 11/30/2022
          Shawn M. Christianson
          Buchalter PC                                       Oracle America, Inc.
          425 Market St.                                     Buchalter PC
          Suite 2900                                         c/o Shawn M. Christianson
                                                representing
          San Francisco, CA 94105-3493                       425 Market St., Suite 2900
          415-227-0900                                       San Francisco, Ca 94105
          schristianson@buchalter.com                        (Creditor)
           Assigned: 12/06/2022
          Albert A. Ciardi, III                              Peter Lau
          Ciardi Ciardi & Astin                              CIARDI CIARDI & ASTIN
          1905 Spruce Street                    representing 1905 Spruce Street
          Philadelphia, PA 19103                             Philadelphia, PA 19103



7 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD   Doc 1688-2      Filed 06/22/23    Page 9 of 51

          215-557-3550
          215-557-3551 (fax)                                   215-557-3550
          aciardi@ciardilaw.com                                aciardi@ciardilaw.com
           Assigned: 12/19/2022                                (Interested Party)
           LEAD ATTORNEY
           Assigned: 12/19/2022                              Charles Mason
           TERMINATED: 06/08/2023                            CIARDI CIARDI & ASTIN
                                                             1905 Spruce Street
                                                representing Philadelphia, PA 19103
                                                             215-557-3550
                                                             aciardi@ciardilaw.com
                                                             (Interested Party)
          Scott D. Cousins
          Cousins Law, LLC
          1521 Concord Pike - Suite 301
                                                               Evolve Bank & Trust
          Wilmington, DE 19801                  representing
                                                               (Creditor)
          302-824-7081
          scott.cousins@cousins-law.com
           Assigned: 11/22/2022
          Jacob M. Croke
          Sullivan & Cromwell LLP                            FTX Trading Ltd.
          125 Broad Street                                   10-00011 Mandolin Place, Friars Hill Road
          New York, NY 10004                    representing St. John's, AG AG-04
          212-558-4000                                       Antigua and Barbuda
          crokej@sullcrom.com                                (Debtor)
           Assigned: 11/21/2022
          Ileana Cruz
          Miami-Dade County Attorney's Office
          111 N.W. 1st Street
          Suite 2810
          Stephen P Clark Center                               Miami-Dade County, Florida
                                                representing
          Miami, FL 33128-1993                                 (Creditor)
          305-375-5296
          305-375-5611 (fax)
          ileanac@miamidade.gov
            Assigned: 11/22/2022
          Andrew J. Currie
          VENABLE LLP
          600 Massachusetts Avenue
          NW                                                   Digital Augean, LLC
                                                representing
          New York, NY 10020                                   (Interested Party)
          212-307-5500
          ajcurrie@venable.com
           Assigned: 11/21/2022




8 of 50                                                                                                          6/21/23, 1:47 PM
Internal CM/ECF Live Database                                               https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD       Doc 1688-2     Filed 06/22/23       Page 10 of 51

          Andrew J. Currie
          Venable LLP
          600 Massachusetts Avenue, NW                          Ad Hoc Committee of Customers and Creditors
          Washington, DC 20001                     representing of FTX Trading Ltd. et al.
          202-344-4000                                          (Creditor)
          ajcurrie@venable.com
           Assigned: 01/03/2023
          Andrew J. Currie
          VENABLE LLP
          600 Massachusetts Avenue
          NW
                                                                  Aux Cayes FinTech Co. Ltd.
          Washington, DC 20001                     representing
                                                                  (Interested Party)
          202-344-4000
          202-344-8300 (fax)
          ajcurrie@venable.com
           Assigned: 03/30/2023
          Andrew J. Currie
          Venable LLP
          600 Massachusetts Avenue, NW
          Washington, DC 20001                                    OKC USA Holding Inc.
                                                   representing
          202-344-4000                                            (Interested Party)
          202-344-8300 (fax)
          ajcurrie@venable.com
           Assigned: 03/30/2023
                                                                  Okcoin USA, Inc.
                                                                  (Interested Party)
          Brian Davidoff
          Greenberg Glusker Fields Claman et al.
          2049 Century Park East, Suite 2600
          Los Angeles, CA 90067-4590                            North America League of Legends
          310-553-3610                             representing Championship Series, LLC
          310-553-0687 (fax)                                    (Creditor)
          bdavidoff@greenbergglusker.com
           Assigned: 12/16/2022
           LEAD ATTORNEY
          Roma N Desai
                                                                Texas Dept. of Banking
          Texas Office of Attorney General
                                                                P.O. Box 12548
          300 West 15th Street
                                                                Austin, TX 78711
          Austin, TX 78711                         representing
                                                                5124632173
          512-475-3146
                                                                5129361409 (fax)
          roma.desai@oag.texas.gov
                                                                (Interested Party)
           Assigned: 02/01/2023
                                                                  Texas State Securities Board
                                                                  c/o Texas Attorney General
                                                                  Bankruptcy & Collections Division


9 of 50                                                                                                              6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 11 of 51

                                                              P.O. Box 12548 MC 008
                                                              Austin, TX 78711-2548
                                                              (Interested Party)
           Roma N. Desai
           Office of the Attorney General
                                                            Texas Dept. of Banking
           P.O. Box 12548
                                                            P.O. Box 12548
           Bankruptcy & Collections Division
                                                            Austin, TX 78711
           Austin, TX 78711-2548               representing
                                                            5124632173
           512-463-2173
                                                            5129361409 (fax)
           512-936-1409 (fax)
                                                            (Interested Party)
           Roma.Desai@oag.texas.gov
            Assigned: 11/22/2022
                                                              Texas State Securities Board
                                                              c/o Texas Attorney General
                                                              Bankruptcy & Collections Division
                                                              P.O. Box 12548 MC 008
                                                              Austin, TX 78711-2548
                                                              (Interested Party)
           Luc A. Despins
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166                                 Official Committee of Unsecured Creditors
                                               representing
           212-318-6000                                       (Creditor Committee)
           212-319-4090 (fax)
           lucdespins@paulhastings.com
            Assigned: 12/22/2022
           Caroline Diaz
           PAUL HASTINGS LLP
           200 Park Avenue
           NEW YORK, NY 10166                                 Official Committee of Unsecured Creditors
                                               representing
           212-318-6000                                       (Creditor Committee)
           212-319-4090 (fax)
           carolinediaz@paulhastings.com
            Assigned: 01/20/2023
           Andrew G. Dietderich
           Sullivan & Cromwell LLP                          FTX Trading Ltd.
           125 Broad Street                                 10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                  representing St. John's, AG AG-04
           212-558-4000                                     Antigua and Barbuda
           dietdericha@sullcrom.com                         (Debtor)
            Assigned: 11/14/2022
            Assigned: 05/10/2023                              Brian C. Simms
                                               representing
                                                              (Interested Party)




10 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD      Doc 1688-2    Filed 06/22/23      Page 12 of 51

                                                               Kevin G. Cambridge
                                                               (Interested Party)
                                                               Peter Greaves
                                                               (Interested Party)
           Gregory T. Donilon
           Montgomery McCracken Walker &                       Samuel L. Bankman-Fried
           Rhoads LLP                                          c/o Montgomery McCracken Walker & Rhoads
           1105 North Market Street, Suite 1500                1105 North Market Street, 15th Floor
           Wilmington, DE 19801                   representing Wilmington, DE 19801
           (302) 504-7805                                      3025047800
           (215) 731-3740 (fax)                                gdonilon@mmwr.com
           gdonilon@mmwr.com                                   (Stockholder)
            Assigned: 01/05/2023
           Joshua Dorchak
           Morgan, Lewis & Bockius, LLP
           101 Park Avenue
                                                               Joint Provisional Liquidators of Emergent
           New York, NY 10178-0060
                                                  representing Fidelity Technologies Ltd
           212 309-6000
                                                               (Liquidator)
           joshua.dorchak@morganlewis.com
            Assigned: 01/03/2023
            LEAD ATTORNEY
            Assigned: 02/13/2023                               Emergent Fidelity Technologies Ltd.
            LEAD ATTORNEY                                      Unit 3B
                                                               Bryson's Commercial Complex
                                                  representing Friars Hill Road
                                                               St. John's
                                                               Antigua and Barbuda
                                                               (Interested Party)
           Amish R. Doshi
           Doshi Legal Group, P.C.                             Oracle America, Inc.
           1979 Marcus Avenue, Suite 210E                      Buchalter PC
           Lake Success, NY 11042                              c/o Shawn M. Christianson
                                                  representing
           516-622-2335                                        425 Market St., Suite 2900
           866-222-0162 (fax)                                  San Francisco, Ca 94105
           amish@doshilegal.com                                (Creditor)
            Assigned: 03/04/2023
           Christopher J Dunne
           SULLIVAN & CROMWELL LLP
                                                               FTX Trading Ltd.
           125 Broad Street
                                                               10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004
                                                  representing St. John's, AG AG-04
           (212) 558-4000
                                                               Antigua and Barbuda
           Dunnec@sullcrom.com
                                                               (Debtor)
            Assigned: 01/27/2023
            LEAD ATTORNEY




11 of 50                                                                                                          6/21/23, 1:47 PM
Internal CM/ECF Live Database                                             https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD    Doc 1688-2     Filed 06/22/23       Page 13 of 51

           Kenneth H. Eckstein
           Kramer Levin Naftalis & Frankel LLP
           1177 Avenue of the Americas
           New York, NY 10036                                   Official Committee of Unsecured Creditors
                                                 representing
           (212) 715-9100                                       (Creditor Committee)
           (212) 715-8000 (fax)
           keckstein@kramerlevin.com
            Assigned: 02/13/2023
           Jamie Lynne Edmonson
           Robinson+Cole LLP
           1201 North Market Street
           Suite 1406                                         North America League of Legends
           Wilmington, DE 19801                  representing Championship Series, LLC
           302-516-1705                                       (Creditor)
           302-516-1699 (fax)
           jedmonson@rc.com
             Assigned: 12/16/2022
           Philip H. Ehrlich
           Eversheds Sutherland (US) LP
           114 Avenue of the Americas
                                                              Ad Hoc Committee of Non-US Customers of
           New York, NY 10036
                                                 representing FTX.com
           2123895000
                                                              (Interested Party)
           philipehrlich@eversheds-
           sutherland.com
            Assigned: 12/04/2022
           Joseph B. Evans
           McDermott Will & Emery LLP
           1 Vanderbilt Avenue                                Plan Administrator in Case No. 22-B-10943
           New York, NY 10017                                 (MEW) (U.S. Bankruptcy Court for the
                                                 representing
           212-547-5767                                       Southern District of New York)
           212-547-5444 (fax)                                 (Interested Party)
           jbevans@mwe.com
            Assigned: 06/21/2023
           David L. Finger
           Finger & Slanina, LLC
           One Commerce Center
           1201 N. Orange Street, 7th fl.
                                                                Bloomberg L.P.
           Wilmington, DE 19801-1155             representing
                                                                (Interested Party)
           302 573-2525
           302-573-2524 (fax)
           dfinger@delawgroup.com
            Assigned: 12/09/2022
                                                                Dow Jones & Company, Inc.
                                                                (Interested Party)




12 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                             https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD    Doc 1688-2     Filed 06/22/23       Page 14 of 51

                                                                The Financial Times Ltd.
                                                                (Interested Party)
                                                                The New York Times Company
                                                                (Interested Party)
           Thomas Joseph Francella, Jr.
           Whiteford
           600 North King Street
           Ste 300
                                                                BH Trading Ltd.
           Wilmington, DE 19801                  representing
                                                                (Interested Party)
           302-357-3277
           302-357-3261 (fax)
           TFrancella@whitefordlaw.com
            Assigned: 01/30/2023
                                                                Grant Kim
                                                                (Interested Party)
                                                                Peter Kim
                                                                (Interested Party)
           Mark Franke
           White & Case LLP
           1221 Avenue of the Americas
                                                              Joint Provisional Liquidators of FTX Digital
           New York, NY 10020-1095
                                                 representing Markets Ltd. (In Provisional Liquidation)
           212-819-8200
                                                              (Interested Party)
           mark.franke@whitecase.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Daniel Friedberg
           1133 Bigelow Avenue North
           Seattle, WA 98109                                    Daniel Friedberg
                                                 representing
           206-372-8963                                         (Creditor)
           danielscottfriedberg@gmail.com
            Assigned: 01/19/2023
           Nicole Friedlander
           Sullivan & Cromwell
                                                              FTX Trading Ltd.
           125 Broad Street
                                                              10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004
                                                 representing St. John's, AG AG-04
           212-558-4000
                                                              Antigua and Barbuda
           friedlandern@sullcrom.com
                                                              (Debtor)
             Assigned: 11/21/2022
             LEAD ATTORNEY
           David Gerardi                                      U.S. Trustee
           Office of the United States Trustee                Office of the United States Trustee
           One Newark Center                     representing J. Caleb Boggs Federal Building
           1085 Raymond Boulevard                             844 King Street, Suite 2207



13 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 15 of 51

           Suite 2100                                         Lockbox 35
           Newark, NJ 07102                                   Wilmington, DE 19801
           David.Gerardi@usdoj.gov                            (302)-573-6491
            Assigned: 02/01/2023                              USTPRegion03.WL.ECF@USDOJ.GOV
                                                              (U.S. Trustee)
           Jason A. Gibson
           The Rosner Law Group LLC
           824 Market Street, Suite 810
           Wilmington, DE 19801                               DAG Holdings Limited
                                               representing
           302-777-1111                                       (Interested Party)
           302-319-6318 (fax)
           gibson@teamrosner.com
            Assigned: 12/01/2022
                                                              Ben Li
                                                              (Interested Party)
                                                              Chris Curl Lee
                                                              (Interested Party)
                                                              Haici Gao
                                                              (Interested Party)
                                                              Hongcheng Huang
                                                              (Interested Party)
                                                              Hongyuan Zhai
                                                              (Interested Party)
                                                              Huayang Zhou
                                                              (Interested Party)
                                                              Jingkuan Hou
                                                              (Interested Party)
                                                              Jyunyu Chen
                                                              (Interested Party)
                                                              Ke Wang
                                                              (Interested Party)
                                                              Lingling Li
                                                              (Interested Party)
                                                              Lu Yu
                                                              (Interested Party)
                                                              Qilin Chen
                                                              (Interested Party)
                                                              Shupei Chen
                                                              (Interested Party)




14 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 16 of 51

                                                              Simin Jiang
                                                              (Interested Party)
                                                              Siyuan Yan
                                                              (Interested Party)
                                                              Tianqi Huang
                                                              (Interested Party)
                                                              Weiyang Zhou
                                                              (Interested Party)
                                                              Wenchao Tan
                                                              (Interested Party)
                                                              Xiao Li
                                                              (Interested Party)
                                                              Yan Tang
                                                              (Interested Party)
                                                              Yijian Feng
                                                              (Interested Party)
                                                              Yingkai Xu
                                                              (Interested Party)
           Erez Gilad
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166                                 Official Committee of Unsecured Creditors
                                               representing
           212-318-6000                                       (Creditor Committee)
           212-319-4090 (fax)
           erezgilad@paulhastings.com
            Assigned: 12/22/2022
           Steven A. Ginther
           Missouri Dept. of Revenue
           301 W. High Street, Room 670                     Missouri Department of Revenue
           P.O. Box 475                                     Bankruptcy Unit
           Jefferson City, MO 65105-0475       representing PO Box 475
           573-751-5531                                     Jefferson City, MO 65105
           573-751-7232 (fax)                               (Creditor)
           deecf@dor.mo.gov
            Assigned: 12/27/2022
           Brian D. Glueckstein
           Sullivan & Cromwell LLP                          FTX Trading Ltd.
           125 Broad Street                                 10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                  representing St. John's, AG AG-04
           212-558-4000                                     Antigua and Barbuda
           gluecksteinb@sullcrom.com                        (Debtor)
            Assigned: 11/14/2022


15 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 17 of 51

            LEAD ATTORNEY
            Assigned: 05/10/2023                              Brian C. Simms
                                               representing
                                                              (Interested Party)
                                                              Kevin G. Cambridge
                                                              (Interested Party)
                                                              Peter Greaves
                                                              (Interested Party)
           Michael C. Godbe
           Debevoise & Plimpton LLP
           66 Hudson Boulevard
                                                            Lightspeed Strategic Partners I L.P. and
           New York, NY 10001
                                               representing Lightspeed Opportunity Fund, L.P.
           212-909-6000
                                                            (Creditor)
           212-909-6836 (fax)
           mgodbe@debevoise.com
            Assigned: 01/09/2023
           Eduardo W. Gonzalez
           Miami-Dade County, Florida
           111 N.W. First St.
           Suite 2810                                         Miami-Dade County, Florida
                                               representing
           Miami, FL 33128                                    (Creditor)
           305-375-1057
           ewg@miamidade.gov
            Assigned: 11/22/2022
           John C Goodchild
           Morgan Lewis & Bockius LLP
           1701 Market St
                                                            Joint Provisional Liquidators of Emergent
           Philadelphia, PA 19103-2921
                                               representing Fidelity Technologies Ltd
           215 963 5000
                                                            (Liquidator)
           jgoodchild@morganlewis.com
            Assigned: 01/03/2023
            LEAD ATTORNEY
            Assigned: 02/13/2023                            Emergent Fidelity Technologies Ltd.
            LEAD ATTORNEY                                   Unit 3B
                                                            Bryson's Commercial Complex
                                               representing Friars Hill Road
                                                            St. John's
                                                            Antigua and Barbuda
                                                            (Interested Party)
           Andrea L. Gordon
           Eversheds Sutherland (US) LLP
                                                            Ad Hoc Committee of Non-US Customers of
           700 Sixth Street NW, Suite 700
                                               representing FTX.com
           Washington, DC 20001
                                                            (Interested Party)
           (202) 383-0100



16 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD    Doc 1688-2    Filed 06/22/23      Page 18 of 51

           202-637-3593 (fax)
           andreagordon@eversheds-
           sutherland.com
            Assigned: 12/04/2022
           Walter W. Gouldsbury, III
                                                              Peter Lau
           Ciardi Ciardi & Astin
                                                              CIARDI CIARDI & ASTIN
           1905 Spruce Street
                                                              1905 Spruce Street
           Philadelphia, PA 19103
                                                 representing Philadelphia, PA 19103
           215-557-3550
                                                              215-557-3550
           215-557-3551 (fax)
                                                              aciardi@ciardilaw.com
           wgouldsbury@ciardilaw.com
                                                              (Interested Party)
            Assigned: 12/19/2022
            Assigned: 12/19/2022                              Charles Mason
            TERMINATED: 06/08/2023                            CIARDI CIARDI & ASTIN
                                                              1905 Spruce Street
                                                 representing Philadelphia, PA 19103
                                                              215-557-3550
                                                              aciardi@ciardilaw.com
                                                              (Interested Party)
           David M. Grable
           QUINN EMAURQUHART &
           SULLIVAN, LLP
                                                              FTX Trading Ltd.
           865 South Figueroa Street
                                                              10-00011 Mandolin Place, Friars Hill Road
           10th Floor
                                                 representing St. John's, AG AG-04
           Los Angeles, CA 90017
                                                              Antigua and Barbuda
           213-443-3000
                                                              (Debtor)
           213-443-3100 (fax)
            Assigned: 02/10/2023
             TERMINATED: 05/02/2023
           Kevin Gross
           Richards Layton & Finger
           One Rodney Square
           920 North King Street                              Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801                  representing Markets Ltd. (In Provisional Liquidation)
           302-651-7815                                       (Interested Party)
           302-651-7701 (fax)
           gross@rlf.com
            Assigned: 11/22/2022
           Benjamin A. Hackman                                U.S. Trustee
           Office of the United States Trustee                Office of the United States Trustee
           844 King Street                                    J. Caleb Boggs Federal Building
           Suite 2207                            representing 844 King Street, Suite 2207
           Lockbox 35                                         Lockbox 35
           Wilmington, DE 19801                               Wilmington, DE 19801
           302-573-6491                                       (302)-573-6491



17 of 50                                                                                                          6/21/23, 1:47 PM
Internal CM/ECF Live Database                                             https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD     Doc 1688-2     Filed 06/22/23     Page 19 of 51

           302-573-6497 (fax)
                                                                 USTPRegion03.WL.ECF@USDOJ.GOV
           benjamin.a.hackman@usdoj.gov
                                                                 (U.S. Trustee)
            Assigned: 11/14/2022
           Paul R. Hage
                                                               Ikigai Opportunities Master Fund, Ltd.
           Taft, Stettinius & Hollister, LLP
                                                               Attn: Taft Stettinius & Hollister, LLP
           27777 Franklin Road
                                                               27777 Franklin, Suite 2500
           Ste 2500
                                                               Southfield, MI 48034
           Southfield, MI 48034                   representing
                                                               United States
           248-351-3000
                                                               2487271543
           248-351-3082 (fax)
                                                               phage@taftlaw.com
           phage@taftlaw.com
                                                               (Creditor)
            Assigned: 01/03/2023
           Brandon M. Hammer
           Cleary Gottlieb Steen & Hamilton LLP                BitGo Trust Company, Inc.
           One Liberty Plaza                                   C/O Ashby & Geddes, P.A.
           New York, NY 10006                                  500 Delaware Avenue
           (212) 225-2872                         representing 8th Floor
           (212) 225-3999 (fax)                                P.O. Box 1150
           bhammer@cgsh.com                                    Wilmington, DE 19899
            Assigned: 12/08/2022                               (Interested Party)
            LEAD ATTORNEY
           Mark W. Hancock
           Godfrey & Kahn, S.C.
           1 E. Main Street
           Ste. 500
                                                                 Fee Examiner Stadler
           Madison, WI 53703                      representing
                                                                 (Fee Examiner)
           608-284-2251
           608-257-0609 (fax)
           mhancock@gklaw.com
            Assigned: 03/20/2023
           Kristopher M. Hansen
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166
                                                                 Official Committee of Unsecured Creditors
           (212)318-6000                          representing
                                                                 (Creditor Committee)
           (212)319-4090 (fax)
           krishansen@paulhastings.com
            Assigned: 12/22/2022
            LEAD ATTORNEY
           Matthew B. Harvey
           Morris Nichols Arsht & Tunnell, LLP
           1201 North Market Street                            Ad Hoc Committee of Non-US Customers of
           P.O. Box 1347                          representing FTX.com
           16th Floor                                          (Interested Party)
           Wilmington, DE 19801



18 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                          https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23     Page 20 of 51

           302-658-9200
           302-658-3989 (fax)
           mharvey@morrisnichols.com
            Assigned: 12/04/2022
           Paul N. Heath
           Richards Layton & Finger PA
           One Rodney Square
           920 North King Street
                                                            Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801
                                               representing Markets Ltd. (In Provisional Liquidation)
           302-651-7700
                                                            (Interested Party)
           302-651-7701 (fax)
           heath@rlf.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Paul Noble Heath
           Richards, Layton & Finger
           One Rodney Square
           920 North King Street                            Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801                representing Markets Ltd. (In Provisional Liquidation)
           302-651-7700                                     (Interested Party)
           302-651-7701 (fax)
           heath@rlf.com
            Assigned: 12/23/2022
           Robert Campbell Hillyer
           Butler Snow LLP
           Crescent Center, Suite 500
           6075 Poplar Avenue
                                                              Evolve Bank & Trust
           PO BOX 171443                       representing
                                                              (Creditor)
           Memphis, TN 38187
           901-680-7347
           cam.hillyer@butlersnow.com
            Assigned: 11/22/2022
           Marshal J. Hoda
                                                            Warren Winter
           THE HODA LAW FIRM, PLLC
                                                            c/o Foster Yarborough
           12333 Sowden Road
                                                            917 Franklin Street
           Suite B
                                               representing Suite 220
           Houston, TX 77080
                                                            Houston, TX 77002
           832-848-0036
                                                            713-331-5084
           marshal@thehodalawfirm.com
                                                            (Creditor)
            Assigned: 01/06/2023
           Lynn Holbert
           Eversheds Sutherland (US) LLP                    Ad Hoc Committee of Non-US Customers of
           1114 Avenue of the Americas         representing FTX.com
           New York, NY 10036                               (Interested Party)
           212.389.5000



19 of 50                                                                                                        6/21/23, 1:47 PM
Internal CM/ECF Live Database                                             https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD      Doc 1688-2     Filed 06/22/23     Page 21 of 51

           212.389.5099 (fax)
           lynnholbert@eversheds-sutherland.com
            Assigned: 12/04/2022
           Steven L. Holley
           Sullivan & Cromwell LLP                             FTX Trading Ltd.
           125 Broad Street                                    10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                     representing St. John's, AG AG-04
           212-558-4000                                        Antigua and Barbuda
           holleys@sullcrom.com                                (Debtor)
            Assigned: 05/18/2023
           James E. Huggett
           Margolis Edelstein
           300 Delaware Ave.                                   Oracle America, Inc.
           Suite 800                                           Buchalter PC
           Wilmington, DE 19801                                c/o Shawn M. Christianson
                                                  representing
           U.S.A.                                              425 Market St., Suite 2900
           302-888-1112                                        San Francisco, Ca 94105
           302-888-1119 (fax)                                  (Creditor)
           jhuggett@margolisedelstein.com
            Assigned: 03/06/2023
           John F. Iaffaldano
           PAUL HASTINGS LLP
           200 Park Avenue
           NEW YORK, NY 10166                                    Official Committee of Unsecured Creditors
                                                  representing
           212-318-6000                                          (Creditor Committee)
           212-319-4090 (fax)
           jackiaffaldano@paulhastings.com
             Assigned: 01/19/2023
           Michael Ingrassia
           Morris Nichols Arsht and Tunnell
           1201 North Market Street
                                                               Ad Hoc Committee of Non-US Customers of
           P. O. Box 1347
                                                  representing FTX.com
           Wilmington, DE 19899-1347
                                                               (Interested Party)
           302-351-9304
           mingrassia@morrisnichols.com
            Assigned: 05/12/2023
           Peter A. Ivanick
           Eversheds Sutherland (US) LLP
           1114 Avenue of the Americas
                                                              Ad Hoc Committee of Non-US Customers of
           New York, NY 10036
                                                 representing FTX.com
           212.389.5000
                                                              (Interested Party)
           212.389.5099 (fax)
           peterivanick@eversheds-sutherland.com
            Assigned: 12/04/2022




20 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                             https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD     Doc 1688-2     Filed 06/22/23      Page 22 of 51

           Thomas T Janover
           Kramer Levin Naftalis & Frankel LLP
           1177 Avenue of the Americas
                                                                DCP Master Investments XIV LLC
           New York, NY 10036                    representing
                                                                (Creditor)
           212-715-9186
           tjanover@kramerlevin.com
             Assigned: 04/19/2023
            Assigned: 04/28/2023                              DCP Master Investments XVI LLC
                                                              55 Hudson Yards, Suite 29B
                                                 representing
                                                              New York, NY 10001
                                                              (Creditor)
           Charles M. Jones, II
           Haynes and Boone, LLP
           2323 Victory Avenue
           Suite 700
                                                                BlockFi Inc and affiliates
           Dallas, TX 75219                      representing
                                                                (Interested Party)
           (214) 651-5000
           214-651-5940 (fax)
           Charlie.Jones@haynesboone.com
            Assigned: 11/15/2022
           Scott D Jones
           Cousins Law LLC
           1521 Concord Pike
           Suite 301                                            Evolve Bank & Trust
                                                 representing
           Wilmington, DE 19801                                 (Creditor)
           302-824-7082
           scott.jones@cousins-law.com
            Assigned: 11/22/2022
           Maris J. Kandestin
           McDermott Will & Emery LLP
           1007 North Orange Street, 4th Floor                Plan Administrator in Case No. 22-B-10943
           Wilmington, DE 19801                               (MEW) (U.S. Bankruptcy Court for the
                                                 representing
           302-485-3900                                       Southern District of New York)
           302-351-8711 (fax)                                 (Interested Party)
           mkandestin@mwe.com
            Assigned: 06/20/2023
           Richard S. Kanowitz
           Haynes and Boone, LLP
           30 Rockefeller Plaza
           26th Floor
                                                                BlockFi Inc and affiliates
           New York, NY 10112                    representing
                                                                (Interested Party)
           (212) 659-7300
           212-918-8989 (fax)
           Richard.Kanowitz@haynesboone.com
            Assigned: 11/15/2022



21 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                              https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD      Doc 1688-2     Filed 06/22/23       Page 23 of 51

           Teddy M. Kapur
           Pachulski, Stang Ziehl and Jones LLP
           10100 Santa Monica Blvd. #1100
           13th Floor
                                                                 D1 Ventures
           Los Angeles, CA 90067- 4003            representing
                                                                 (Interested Party)
           (310)277-6910
           310-201-0760 (fax)
           tkapur@pszjlaw.com
            Assigned: 04/28/2023
           Ann M. Kashishian
           Kashishian Law LLC
           501 Silverside Road                                 Gabriel Recchia
           Suite 85                                            92 Union Lane
           Wilmington, DE 19809                   representing Cambridge CB4 1QB
           (484) 302-8417                                      United Kingdom
           (484) 930-0091 (fax)                                (Interested Party)
           amk@kashishianlaw.com
            Assigned: 12/26/2022
           Richard S. Kebrdle
           White & Case LLP
           200 South Biscayne Blvd
           Suite 4900
                                                               Joint Provisional Liquidators of FTX Digital
           Miami, FL 33131
                                                  representing Markets Ltd. (In Provisional Liquidation)
           305-371-2700
                                                               (Interested Party)
           305-358-5744 (fax)
           rkebrdle@whitecase.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Jared W Kochenash
           Young Conaway
           Rodney Square
           1000 N. King Street                                   Official Committee of Unsecured Creditors
                                                  representing
           Wilmington, DE 19801                                  (Creditor Committee)
           302-571-6700
           bankfilings@ycst.com
            Assigned: 01/19/2023
           Katherine Burghardt Kramer
           DGW Kramer LLP
           One Rockefeller Plaza
           Suite 1060                                            DAG Holdings Limited
                                                  representing
           New York, NY 10020                                    (Interested Party)
           917-688-2585
           kkramer@dgwllp.com
            Assigned: 12/02/2022




22 of 50                                                                                                            6/21/23, 1:47 PM
Internal CM/ECF Live Database                                         https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2   Filed 06/22/23       Page 24 of 51

                                                            Ben Li
                                                            (Interested Party)
                                                            Chris Curl Lee
                                                            (Interested Party)
                                                            Haici Gao
                                                            (Interested Party)
                                                            Hongcheng Huang
                                                            (Interested Party)
                                                            Hongyuan Zhai
                                                            (Interested Party)
                                                            Huayang Zhou
                                                            (Interested Party)
                                                            Jingkuan Hou
                                                            (Interested Party)
                                                            Jyunyu Chen
                                                            (Interested Party)
                                                            Ke Wang
                                                            (Interested Party)
                                                            Lingling Li
                                                            (Interested Party)
                                                            Lu Yu
                                                            (Interested Party)
                                                            Qilin Chen
                                                            (Interested Party)
                                                            Shupei Chen
                                                            (Interested Party)
                                                            Simin Jiang
                                                            (Interested Party)
                                                            Siyuan Yan
                                                            (Interested Party)
                                                            Tianqi Huang
                                                            (Interested Party)
                                                            Weiyang Zhou
                                                            (Interested Party)
                                                            Wenchao Tan
                                                            (Interested Party)




23 of 50                                                                                                       6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 25 of 51

                                                              Xiao Li
                                                              (Interested Party)
                                                              Yan Tang
                                                              (Interested Party)
                                                              Yijian Feng
                                                              (Interested Party)
                                                              Yingkai Xu
                                                              (Interested Party)
           Alexa J. Kranzley
           Sullivan & Cromwell LLP
                                                            FTX Trading Ltd.
           125 Broad Street
                                                            10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004-2498
                                               representing St. John's, AG AG-04
           212-558-4000
                                                            Antigua and Barbuda
           kranzleya@sullcrom.com
                                                            (Debtor)
            Assigned: 11/14/2022
            LEAD ATTORNEY
           Robert J. Kriner, Jr
           Chimicles Schwartz Kriner &
           Donaldson-Smith LLP
           2711 Centerville Road
                                                              Austin Onusz
           Suite 201                           representing
                                                              (Interested Party)
           Wilmington, DE 19808
           302-656-2500
           rjk@chimicles.com
             Assigned: 05/03/2023
           M. Natasha Labovitz
           Debevoise & Plimpton LLP
           66 Hudson Boulevard
                                                            Lightspeed Strategic Partners I L.P. and
           New York, NY 10001
                                               representing Lightspeed Opportunity Fund, L.P.
           212-909-6000
                                                            (Creditor)
           212-909-6836 (fax)
           nlabovitz@debevoise.com
            Assigned: 01/09/2023
           Adam G. Landis
           Landis Rath & Cobb LLP
           919 Market Street                                FTX Trading Ltd.
           Suite 1800                                       10-00011 Mandolin Place, Friars Hill Road
           Wilmington, DE 19801                representing St. John's, AG AG-04
           302-467-4400                                     Antigua and Barbuda
           302-467-4450 (fax)                               (Debtor)
           landis@lrclaw.com
             Assigned: 11/11/2022




24 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD    Doc 1688-2     Filed 06/22/23     Page 26 of 51

           Jessica Lauria
           White & Case
           1221 Avenue of the Americas
                                                             Joint Provisional Liquidators of FTX Digital
           New York, NY 10020-1095
                                                representing Markets Ltd. (In Provisional Liquidation)
           212-819-8200
                                                             (Interested Party)
           jessica.lauria@whitecase.com
             Assigned: 11/22/2022
             LEAD ATTORNEY
           Thomas E. Lauria
           White & Case LLP
           200 South Biscayne Boulevard
           Suite 4900                                        Joint Provisional Liquidators of FTX Digital
           Miami, FL 33131                      representing Markets Ltd. (In Provisional Liquidation)
           305-371-2700                                      (Interested Party)
           305-358-5744 (fax)
           tlauria@whitecase.com
             Assigned: 11/22/2022
           Melissa J. Lee
           Manier Herod, P.C.
           1201 Demonbreun Street
           Suite 900
                                                               Philadelphia Indemnity Insurance Company
           Nashville, TN 37213                  representing
                                                               (Creditor)
           615-742-9372
           615-242-4203 (fax)
           mlee@manierherod.com
            Assigned: 11/21/2022
           Katherine A. Lemire
           Quinn Emanuel Urquhart & Sullivan,
           LLP
                                                             FTX Trading Ltd.
           51 Madison Avenue
                                                             10-00011 Mandolin Place, Friars Hill Road
           22nd Floor
                                                representing St. John's, AG AG-04
           New York, NY 10010
                                                             Antigua and Barbuda
           212-849-7000
                                                             (Debtor)
           katherinelemire@quinnemanuel.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Nicole A. Leonard
                                                             New Jersey Bureau of Securities
           McElroy, Deutsch, Mulvaney &
                                                             153 Halsey Street
           Carpenter,
                                                             6th Floor
           225 Liberty Street
                                                             P.O. Box 47029
           36th Floor                           representing
                                                             Newark, NJ 07102
           New York, NY 10281
                                                             United States
           973-565-2048
                                                             973-504-3600
           nleonard@mdmc-law.com
                                                             (Creditor)
            Assigned: 02/14/2023




25 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD     Doc 1688-2     Filed 06/22/23     Page 27 of 51

           Sidney P. Levinson
           DEBEVOISE & PLIMPTON LLP
           66 Hudson Blulevard
           New York, NY 10001                                   Paradigm Operations LP
                                                 representing
           (212) 909-6000                                       (Interested Party)
           212-909-6839 (fax)
           slevinson@debevoise.com
            Assigned: 12/19/2022
           Brian Loughnane
           Morgan Lewis & Bockius
           1201 Market Street
                                                              Ad Hoc Committee of Non-US Customers of
           Wilmington, DE 19801
                                                 representing FTX.com
           302-574-7268
                                                              (Interested Party)
           brian.loughnane@morganlewis.com
            Assigned: 01/04/2023
             TERMINATED: 03/01/2023
           Matthew Barry Lunn
           Young, Conaway, Stargatt & Taylor LLP
           1000 North King Street
                                                              Official Committee of Unsecured Creditors
           Wilmington, DE 19801                  representing
                                                              (Creditor Committee)
           302-571-6600
           bankfilings@ycst.com
            Assigned: 12/22/2022
           Stephen Manning                                    WA State Dept of Financial Institutions
           Washington Attorney General                        Government Compliance & Enforcement
           PO Box 40100                                       1125 Washington Street SE
           Olympia, WA 98504                                  PO Box 40100
           360-534-4846                          representing Olympia, WA 98504-0100
           Stephen.Manning@atg.wa.gov                         United States
            Assigned: 12/05/2022                              3605344846
                                                              stephen.manning@atg.wa.gov
                                                              (Interested Party)
           Samantha Martin
           Paul Hastings LLP
           220 Park Avenue
           New York, NY 10166                                   Official Committee of Unsecured Creditors
                                                 representing
           212-318-6000                                         (Creditor Committee)
           samanthamartin@paulhastings.com
            Assigned: 12/27/2022
            LEAD ATTORNEY
           Laura L. McCloud                                   TN Dept of Financial Institutions
           Tennessee Attorney General's Office                c/o TN Attorney General's Office
           P.O. Box 20207                        representing Bankruptcy Division
           Nashville, TN 37202-0207                           P.O. Box 20207
           615-532-8933                                       Nashville, TN 37202-0207



26 of 50                                                                                                          6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD     Doc 1688-2     Filed 06/22/23     Page 28 of 51

           615-741-3334 (fax)                                   615-532-2504
           agbankdelaware@ag.tn.gov                             615-741-3334 (fax)
            Assigned: 12/01/2022                                (Creditor)
           James M. McDonald
           SULLIVAN & CROMWELL LLP                            FTX Trading Ltd.
           125 Broad Street                                   10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                    representing St. John's, AG AG-04
           212-558-4000                                       Antigua and Barbuda
           mcdonaldj@sullcrom.com                             (Debtor)
            Assigned: 11/21/2022
           Matthew B. McGuire
           Landis Rath & Cobb LLP
           P.O. Box 2087                                      FTX Trading Ltd.
           919 Market Street, Suite 1800                      10-00011 Mandolin Place, Friars Hill Road
           Wilmington, DE 19899                  representing St. John's, AG AG-04
           302-467-4400                                       Antigua and Barbuda
           302-467-4450 (fax)                                 (Debtor)
           mcguire@lrclaw.com
            Assigned: 02/14/2023
           John Daniel McLaughlin, Jr.
           McLaughlin Law Office LLC                          Warren Winter
           1521 Concord Pike                                  c/o Foster Yarborough
           Suite 202                                          917 Franklin Street
           Wilmington, DE 19803                  representing Suite 220
           302-557-1555                                       Houston, TX 77002
           302-300-4253 (fax)                                 713-331-5084
           jmclaughlin@ferryjoseph.com                        (Creditor)
            Assigned: 01/04/2023
            Assigned: 01/16/2023                              Richard L. Brummond
                                                 representing Sacramento, CA
                                                              (Creditor)
           Marcy J. McLaughlin Smith
           Troutman Pepper Hamilton Sanders
           LLP
           Hercules Plaza, Suite 5100
           1313 N. Market Street
                                                                Paradigm Operations LP
           P.O. Box 1709                         representing
                                                                (Interested Party)
           Wilmington, DE 19899-1709
           302-777-6535
           302-421-8390 (fax)
           Marcy.Smith@troutman.com
            Assigned: 12/19/2022
           Joseph James McMahon, Jr.                          U.S. Trustee
           United States Department of Justice   representing Office of the United States Trustee
           Office of the United States Trustee                J. Caleb Boggs Federal Building



27 of 50                                                                                                          6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 29 of 51

           844 King Street, Suite 2207
                                                              844 King Street, Suite 2207
           Lockbox #35
                                                              Lockbox 35
           Wilmington, DE 19801
                                                              Wilmington, DE 19801
           302-573-6491
                                                              (302)-573-6491
           302-573-6497 (fax)
                                                              USTPRegion03.WL.ECF@USDOJ.GOV
           joseph.mcmahon@usdoj.gov
                                                              (U.S. Trustee)
            Assigned: 02/01/2023
           Stanton C. McManus
           P.O. Box 875
           Ben Franklin Station
                                                              United States
           Washington, DC 20044                representing
                                                              (Interested Party)
           202-307-5832
           stanton.c.mcmanus@usdoj.gov
            Assigned: 11/21/2022
           Dennis A. Meloro
           Greenberg Traurig, P.A
           222 Delaware Avenue
           Suite 1600                                         Pateno Payments, Inc.
                                               representing
           Wilmington, DE 19801                               (Interested Party)
           302-661-7000
           melorod@gtlaw.com
            Assigned: 05/10/2023
           Evelyn J. Meltzer
           Troutman Pepper Hamilton Sanders,
           LLP
           Hercules Plaza
           Suite 5100
                                                              Paradigm Operations LP
           1313 N. Market Street               representing
                                                              (Interested Party)
           Wilmington, DE 19899
           302-777-6500
           302-421-8390 (fax)
           Evelyn.Meltzer@troutman.com
            Assigned: 12/19/2022
           Frank Merola
           Paul Hastings LLP
           1999 Avenue of the Starts
           27th Floor
                                                              Official Committee of Unsecured Creditors
           Center City, CA 90067               representing
                                                              (Creditor Committee)
           310.620.5700
           frankmerola@paulhastings.com
             Assigned: 01/05/2023
             LEAD ATTORNEY
           Layla Milligan                                   Texas Dept. of Banking
           Attorney General of Texas           representing P.O. Box 12548
           P.O. Box 12548                                   Austin, TX 78711



28 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                              https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD      Doc 1688-2     Filed 06/22/23       Page 30 of 51

           Bankruptcy & Collections Division
           Austin, TX 78711-2548
                                                                 5124632173
           512-463-2173
                                                                 5129361409 (fax)
           512-936-1409 (fax)
                                                                 (Interested Party)
           layla.milligan@oag.texas.gov
             Assigned: 11/22/2022
                                                                 Texas State Securities Board
                                                                 c/o Texas Attorney General
                                                                 Bankruptcy & Collections Division
                                                                 P.O. Box 12548 MC 008
                                                                 Austin, TX 78711-2548
                                                                 (Interested Party)
           Mark Minuti
           Saul Ewing LLP
           1201 North Market Street, Suite 2300
           P.O. Box 1266
                                                                 Pyth Data Association
           Wilmington, DE 19899                   representing
                                                                 (Creditor)
           302-421-6840
           302-421-6813 (fax)
           mark.minuti@saul.com
            Assigned: 06/14/2023
           Michael R. Morano
           McElroy, Deutsch, Mulvaney &
           Carpenter
           1300 Mount Kemble Ave.
           PO Box 2075                                           Philadelphia Indemnity Insurance Company
                                                  representing
           Morristown, NJ 07962                                  (Creditor)
           973-993-8100
           973-425-0161 (fax)
           mmorano@mdmc-law.com
            Assigned: 11/21/2022
           Michael Morris
           Wisconsin Department of Justice
                                                               State of Wisconsin Dep't of Financial
           PO Box 7857
                                                               Institutions
           17 West Main Street
                                                               17 West Main
           Madison, WI 53707-7857                 representing
                                                               P.O. Box 7857
           608-266-3636
                                                               Madison, WI 53707
           608-267-2223 (fax)
                                                               (Interested Party)
           Morrismd@doj.state.wi.us
            Assigned: 11/17/2022
           Isaac Nesser                                        FTX Trading Ltd.
           Quinn Emanuel Urquhart & Sullivan,                  10-00011 Mandolin Place, Friars Hill Road
           LLP                                    representing St. John's, AG AG-04
           51 Madison Avenue                                   Antigua and Barbuda
           New York, NY 10010                                  (Debtor)



29 of 50                                                                                                            6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 31 of 51

           212-849-7000
           212-849-7100 (fax)
           isaacnesser@quinnemanuel.com
             Assigned: 02/23/2023
           Anh Nguyen
           c/o Streusand Landon Ozburn &                    Cloudflare, Inc.
           Lemmon LLP                                       c/o Streusand, Landon, Ozburn & Lemmon
           1801 S. Mopac Expressway                         1801 S Mopac Expressway
           Suite 320                                        Suite 320
           Austin, TX 78746                    representing Austin, TX 78746
           512-236-9900                                     512-236-9901
           512-236-9904 (fax)                               512-236-9904 (fax)
           anh.nguyen@lewisbrisbois.com                     streusand@slollp.com
            Assigned: 11/18/2022                            (Creditor)
            LEAD ATTORNEY
           Daniel A. O'Brien
           Venable LLP
           1201 N. Market St.
           Suite 1400
                                                              Digital Augean, LLC
           Wilmington, DE 19801                representing
                                                              (Interested Party)
           302-298-3523
           302-298-3550 (fax)
           daobrien@venable.com
            Assigned: 11/21/2022
            Assigned: 01/03/2023                            Ad Hoc Committee of Customers and Creditors
                                               representing of FTX Trading Ltd. et al.
                                                            (Creditor)
            Assigned: 03/29/2023                              Aux Cayes FinTech Co. Ltd.
                                               representing
                                                              (Interested Party)
                                                              Okcoin USA, Inc.
                                                              (Interested Party)
            Assigned: 03/29/2023                              OKC USA Holding Inc.
                                               representing
                                                              (Interested Party)
           Aram Ordubegian
           Arent Fox LLP
           555 West Fifth Street, 48th Floor
           Los Angeles, CA 90013                              BH Trading Ltd.
                                               representing
           213-629-7400 x7410                                 (Interested Party)
           213-629-7401 (fax)
           Aram.Ordubegian@afslaw.com
            Assigned: 01/30/2023
                                                              Grant Kim
                                                              (Interested Party)



30 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 32 of 51

                                                              Peter Kim
                                                              (Interested Party)
           Ricardo Palacio, Esq
           Ashby & Geddes, P. A.                            BitGo Trust Company, Inc.
           500 Delaware Avenue                              C/O Ashby & Geddes, P.A.
           8th Floor                                        500 Delaware Avenue
           Wilmington, DE 19801                representing 8th Floor
           302-654-1888                                     P.O. Box 1150
           302-654-2067 (fax)                               Wilmington, DE 19899
           RPalacio@ashbygeddes.com                         (Interested Party)
            Assigned: 12/08/2022
           Nicholas Alexander Pasalides
           Reich Reich & Reich P.C.
                                                            Chainalysis Inc.
           235 Main Street, Suite 450
                                                            c/o Reich Reich & Reich, P.C.
           White Plains, NY 10601
                                               representing 235 Main Street, Suite 450
           914-949-2126
                                                            White Plains, NY 10601
           914-949-1604 (fax)
                                                            (Creditor)
           npasalides@eckertseamans.com
            Assigned: 11/16/2022
           Kenneth Pasquale
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166
                                                              Official Committee of Unsecured Creditors
           (212)318-6000                       representing
                                                              (Creditor Committee)
           (212)319-4090 (fax)
           kenpasquale@paulhastings.com
            Assigned: 12/22/2022
            LEAD ATTORNEY
            Assigned: 05/10/2023                              Brian C. Simms
                                               representing
                                                              (Interested Party)
                                                              Peter Greaves
                                                              (Interested Party)
            Assigned: 05/10/2023                              Kevin G. Cambridge
                                               representing
            LEAD ATTORNEY                                     (Interested Party)
           Amy Patterson
           Georgia Department of Law- 02
           40 Capitol Square, SW                            Georgia Department of Banking and Finance
           Atlanta, GA 30334-1300                           2990 Brandywine Rd. Suite 200
                                               representing
           404-463-0189                                     Atlanta, GA 30341
           404-657-3239 (fax)                               (Interested Party)
           apatterson@law.ga.gov
            Assigned: 12/13/2022




31 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                               https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD       Doc 1688-2     Filed 06/22/23       Page 33 of 51

           Sarah E. Paul
           Eversheds Sutherland (US) LLP
           114 Avenue of the Americas                           Ad Hoc Committee of Non-US Customers of
           New York, NY 10036                      representing FTX.com
           (212) 389-5000                                       (Interested Party)
           sarahpaul@eversheds-sutherland.com
            Assigned: 12/04/2022
           Steven R. Peikin
           SULLIVAN & CROMWELL LLP                              FTX Trading Ltd.
           125 Broad Street                                     10-00011 Mandolin Place, Friars Hill Road
           New York, NY 10004                      representing St. John's, AG AG-04
           212-558-4000                                         Antigua and Barbuda
           peikins@sullcrom.com                                 (Debtor)
            Assigned: 11/21/2022
           Arie Peled
           Venable LLP
           1270 Avenue of the Americas, 24th Fl.
                                                                  Digital Augean, LLC
           New York, NY 10020                      representing
                                                                  (Interested Party)
           United States
           aapeled@venable.com
            Assigned: 11/21/2022
           Arie A. Peled
           VENABLE LLP
           151 West 42nd St.
           48th Floor
           New York, NY 10036                                     Aux Cayes FinTech Co. Ltd.
                                                   representing
           United States                                          (Interested Party)
           212-307-5500
           212-307-5598 (fax)
           aapeled@venable.com
            Assigned: 03/30/2023
                                                                  OKC USA Holding Inc.
                                                                  (Interested Party)
                                                                  Okcoin USA, Inc.
                                                                  (Interested Party)
           Norman L. Pernick
           Cole Schotz P.C.
           500 Delaware Avenue
           Suite 1410                                           Lightspeed Strategic Partners I L.P. and
           Wilmington, DE 19801                    representing Lightspeed Opportunity Fund, L.P.
           302-652-3131                                         (Creditor)
           302-652-3117 (fax)
           npernick@coleschotz.com
            Assigned: 01/09/2023




32 of 50                                                                                                             6/21/23, 1:47 PM
Internal CM/ECF Live Database                                          https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23     Page 34 of 51

           Brian D. Pfeiffer
           White & Case LLP
           1221 Avenue of the Americas
                                                            Joint Provisional Liquidators of FTX Digital
           New York, NY 10020-1095
                                               representing Markets Ltd. (In Provisional Liquidation)
           212-819-8200
                                                            (Interested Party)
           brian.pfeiffer@whitecase.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Louis Phillips
           Kelly Hart & Hallman LLP
           301 Main Street
           Suite 1600
           Baton Rouge, LA 70801                              Word of God Fellowship, Inc.
                                               representing
           225-381-9643                                       (Creditor)
           225-336-9763 (fax)
           louis.phillips@kellyhart.com
            Assigned: 01/06/2023
            LEAD ATTORNEY
           Matthew R Pierce
           Landis Rath & Cobb LLP
           P.O. Box 2087                                    FTX Trading Ltd.
           919 Market Street, Suite 1800                    10-00011 Mandolin Place, Friars Hill Road
           Wilmington, DE 19899                representing St. John's, AG AG-04
           302-467-4400 x452                                Antigua and Barbuda
           302-467-4450 (fax)                               (Debtor)
           Pierce@lrclaw.com
            Assigned: 11/14/2022
           Matthew R. Pierce
           Landis Rath & Cobb LLP
           919 Market Street
           Suite 1800                                       FTX Trading Ltd.
           Wilmington, DE 19801                             10-00011 Mandolin Place, Friars Hill Road
           usa                                 representing St. John's, AG AG-04
           302-467-4400                                     Antigua and Barbuda
           302-467-4450 (fax)                               (Debtor)
           Pierce@lrclaw.com
            Assigned: 11/14/2022
            LEAD ATTORNEY
           Thomas A. Pitta
           Emmet Marvin & Martin, LLP
           120 Broadway
           32nd Floor                                         Cadian Group Co.
           New York, NY 10271                  representing
                                                              (Creditor)
           212-238-3000
           212-238-3100 (fax)
           tpitta@emmetmarvin.com



33 of 50                                                                                                        6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD    Doc 1688-2     Filed 06/22/23     Page 35 of 51

            Assigned: 03/02/2023
           Robert F. Poppiti, Jr.
           Young, Conaway, Stargatt & Taylor,
           LLP
           1000 North King Street                              Official Committee of Unsecured Creditors
                                                representing
           Wilmington, DE 19801                                (Creditor Committee)
           302-571-6600
           bankfilings@ycst.com
            Assigned: 12/24/2022
           Jeffrey S Price
           Manier & Herod, P.C.
           1201 Demonbreun Street
           Suite 900
                                                               Philadelphia Indemnity Insurance Company
           Nashville, TN 37213                  representing
                                                               (Creditor)
           615-742-9358
           615-242-4203 (fax)
           JPrice@manierherod.com
            Assigned: 11/21/2022
           David P. Primack
                                                             New Jersey Bureau of Securities
           McElroy, Deutsch, Mulvaney &
                                                             153 Halsey Street
           Carpenter, LLP
                                                             6th Floor
           300 Delaware Ave.
                                                             P.O. Box 47029
           Suite 1014                           representing
                                                             Newark, NJ 07102
           Wilmington, DE 19801
                                                             United States
           302-300-4515
                                                             973-504-3600
           dprimack@mdmc-law.com
                                                             (Creditor)
            Assigned: 02/13/2023
           David T Queroli
           Richards, Layton & Finger, P.A.
           One Rodney Square
           920 North King Street
                                                             Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801
                                                representing Markets Ltd. (In Provisional Liquidation)
           302-651-7700
                                                             (Interested Party)
           302-651-7701 (fax)
           queroli@rlf.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Sascha Rand
           Quinn Emanuel Urquhart & Sullivan
           LLP                                               FTX Trading Ltd.
           51 Madison Avenue                                 10-00011 Mandolin Place, Friars Hill Road
           22nd Floor                           representing St. John's, AG AG-04
           New York, NY 10010                                Antigua and Barbuda
           212-849-7000                                      (Debtor)
           sascharand@quinnemanuel.com



34 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                            Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 36 of 51

            Assigned: 11/22/2022
            LEAD ATTORNEY
           John Reding                                       Illinois Department of Financial & Professional
           Illinois Attorney General's Office                Regulation
           100 W. Randolph St., 13th Floor                   100 W Randolph St
           Chicago, IL 60601                                 Suite 13-00225
                                                representing
           312-848-5380                                      Chicago
           john.reding@ilag.gov                              3128485380
             Assigned: 12/01/2022                            john.reding@ilag.gov
                                                             (Attorney)
           Sameen Rizvi
           Potter Anderson & Corroon LLP
           1313 N. Market Street
           6th Floor                                         Voyager Digital Holdings, Inc.
           Wilmington, DE 19801                 representing (Creditor)
           302-984-6155                                      PRO SE
           srizvi@potteranderson.com
            Assigned: 12/01/2022
             TERMINATED: 06/20/2023
                                                               Voyager Digital Ltd.
                                                               (Creditor)
                                                               PRO SE
                                                               Voyager Digital, LLC and affiliates
                                                               (Creditor)
                                                               PRO SE
           Colin R. Robinson
           Pachulski Stang Ziehl & Jones LLP
           919 North Market Street
           17th Floor
                                                               D1 Ventures
           Wilmington, DE 19801                 representing
                                                               (Interested Party)
           302-778-6426
           302-562-4400 (fax)
           crobinson@pszjlaw.com
            Assigned: 04/28/2023
           Elizabeth A. Rodd
           McDERMOTT WILL & EMERY LLP
           200 Clarendon Street                              Plan Administrator in Case No. 22-B-10943
           Boston, MA 02116                                  (MEW) (U.S. Bankruptcy Court for the
                                                representing
           617-535-4040                                      Southern District of New York)
           617-535-3800 (fax)                                (Interested Party)
           erodd@mwe.com
            Assigned: 06/21/2023
           Jennifer Rood                                       VT Department of Financial Regulation
           Vermont Department of Financial      representing
                                                               (Creditor)



35 of 50                                                                                                          6/21/23, 1:47 PM
Internal CM/ECF Live Database                                             https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD     Doc 1688-2     Filed 06/22/23       Page 37 of 51

           Regulati
           89 Main Street
           Third Floor
           Montpelier, VT 05620
           802-828-5672
           jennifer.rood@vermont.gov
             Assigned: 12/09/2022
           Jason H. Rosell
           Pachulski Stang Ziehl & Jones LLP
           One Sansome Street
           Suite 3430
                                                                D1 Ventures
           San Francisco, CA 94104               representing
                                                                (Interested Party)
           415-263-7000
           jrosell@pszjlaw.com
             Assigned: 04/28/2023
             LEAD ATTORNEY
           Andrew John Roth-Moore
           Cole Schotz P.C.
           500 Delaware Avenue
           Suite 1410                                         Lightspeed Strategic Partners I L.P. and
           Wilmington, DE 19801                  representing Lightspeed Opportunity Fund, L.P.
           302-652-3131                                       (Creditor)
           302-652-3117 (fax)
           aroth-moore@coleschotz.com
            Assigned: 01/06/2023
           Samantha Ruppenthal                                Mercedes-Benz Grand Prix Limited
           Foley & Lardner LLP                                c/o Ashby & Geddes, P.A .
           90 Park Avenue                                     500 Delaware Avenue
           New York, NY 10016                    representing 8th Floor
           212-338-3402                                       P.O. Box 1150
           sruppenthal@foley.com                              Wilmington, DE 19899
            Assigned: 01/24/2023                              (Creditor)
           Abigail Rushing Ryan
           c/o Texas Attorney General's Office
                                                              Texas Dept. of Banking
           Bankruptcy & Collections Division
                                                              P.O. Box 12548
           P. O. Box 12548 MC-008
                                                              Austin, TX 78711
           Ste Floor 8                           representing
                                                              5124632173
           Austin, TX 78711-2548
                                                              5129361409 (fax)
           512-475-4297
                                                              (Interested Party)
           abigail.ryan@oag.texas.gov
            Assigned: 11/21/2022
                                                                Texas State Securities Board
                                                                c/o Texas Attorney General
                                                                Bankruptcy & Collections Division
                                                                P.O. Box 12548 MC 008



36 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 38 of 51

                                                              Austin, TX 78711-2548
                                                              (Interested Party)
           Jeffrey S. Sabin
           Venable LLP
           1270 Avenue of the Americas
           New York, NY 10020                                 Digital Augean, LLC
                                               representing
           212-503-0672                                       (Interested Party)
           212-307-5598 (fax)
           JSSabin@Venable.com
            Assigned: 11/21/2022
            Assigned: 01/03/2023                            Ad Hoc Committee of Customers and Creditors
                                               representing of FTX Trading Ltd. et al.
                                                            (Creditor)
           Jeffrey S. Sabin
           VENABLE LLP
           151 West 42nd St.
           48th Floor
                                                              Aux Cayes FinTech Co. Ltd.
           New York, NY 10036                  representing
                                                              (Interested Party)
           212-307-5500
           212-307-5598 (fax)
           jssabin@venable.com
             Assigned: 03/30/2023
                                                              OKC USA Holding Inc.
                                                              (Interested Party)
                                                              Okcoin USA, Inc.
                                                              (Interested Party)
           Anthony M. Saccullo
           A M Saccullo Legal, LLC                          Celsius Network LLC
           27 Crimson King Drive                            The Harley Building
           Bear, DE 19701                                   77-00079 New Cavandish Street
                                               representing
           302-836-8877                                     London
           302-836-8787 (fax)                               United Kingdom
           ams@saccullolegal.com                            (Creditor)
            Assigned: 12/01/2022
           Christopher M. Samis
           Potter Anderson & Corroon LLP
           1313 N. Market Street, 6th Floor
           Wilmington, DE 19801                             Voyager Digital Holdings, Inc.
           302-984-6050                        representing (Creditor)
           302-658-1192 (fax)                               PRO SE
           csamis@potteranderson.com
            Assigned: 12/01/2022
             TERMINATED: 06/20/2023




37 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 39 of 51

                                                              Voyager Digital Ltd.
                                                              (Creditor)
                                                              PRO SE
                                                              Voyager Digital, LLC and affiliates
                                                              (Creditor)
                                                              PRO SE
           Juliet M. Sarkessian
                                                            U.S. Trustee
           U.S. Trustee's Office
                                                            Office of the United States Trustee
           844 King Street
                                                            J. Caleb Boggs Federal Building
           Room 2207
                                                            844 King Street, Suite 2207
           Lockbox #35
                                               representing Lockbox 35
           Wilmington, DE 19801
                                                            Wilmington, DE 19801
           302-573-6491
                                                            (302)-573-6491
           302-573-6497 (fax)
                                                            USTPRegion03.WL.ECF@USDOJ.GOV
           juliet.m.sarkessian@usdoj.gov
                                                            (U.S. Trustee)
            Assigned: 11/11/2022
           Gabriel Sasson
           200 Park Avenue
                                                              Official Committee of Unsecured Creditors
           New York, NY 10166                  representing
                                                              (Creditor Committee)
           gabesasson@paulhastings.com
            Assigned: 12/22/2022
           Isaac Sasson
           Paul Hastings LLP
           200 Park Avenue
           New York, NY 10166                                 Official Committee of Unsecured Creditors
                                               representing
           212-318-6000                                       (Creditor Committee)
           212-319-4090 (fax)
           isaacsasson@paulhastings.com
             Assigned: 12/27/2022
            Assigned: 05/10/2023                              Brian C. Simms
                                               representing
                                                              (Interested Party)
                                                              Kevin G. Cambridge
                                                              (Interested Party)
                                                              Peter Greaves
                                                              (Interested Party)
           Brendan Joseph Schlauch
           Richards, Layton & Finger, P.A.
           One Rodney Square
           920 North King Street                            Joint Provisional Liquidators of FTX Digital
           Wilmington, DE 19801                representing Markets Ltd. (In Provisional Liquidation)
           302-651-7700 x7749                               (Interested Party)
           302-651-7701 (fax)
           schlauch@rlf.com



38 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                              https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD      Doc 1688-2     Filed 06/22/23       Page 40 of 51

            Assigned: 12/09/2022
           Frederick E. Schmidt, Jr.
           Cozen O'Connor
           3 WTC, 175 Greenwich Street
           55th Floor
                                                                 BH Trading Ltd.
           New York, NY 10007                     representing
                                                                 (Interested Party)
           (212) 509-9400
           (646) 588-1552 (fax)
           eschmidt@cozen.com
            Assigned: 01/30/2023
                                                                 Grant Kim
                                                                 (Interested Party)
                                                                 Peter Kim
                                                                 (Interested Party)
           Douglas Schneller
           RIMON, P.C.
           245 Park Avenue
           39th Floor
                                                                 Contrarian Funds, LLC
           New York, NY 10167                     representing
                                                                 (Creditor)
           212-363-0270
           212-363-0270 (fax)
           douglas.schneller@rimonlaw.com
            Assigned: 04/21/2023
           Edward L. Schnitzer
           Montgomery McCracken Walker &
                                                               Samuel L. Bankman-Fried
           Rhoads LLP
                                                               c/o Montgomery McCracken Walker & Rhoads
           437 Madison Ave
                                                               1105 North Market Street, 15th Floor
           24th Floor
                                                  representing Wilmington, DE 19801
           New York, NY 10022
                                                               3025047800
           212-551-7781
                                                               gdonilon@mmwr.com
           212-599-5085 (fax)
                                                               (Stockholder)
           eschnitzer@mmwr.com
            Assigned: 01/10/2023
           Eric D. Schwartz
           Morris, Nichols, Arsht & Tunnell LLP
           1201 N.Market Street
           P. O. Box 1347                                      Ad Hoc Committee of Non-US Customers of
           Wilmington, DE 19801                   representing FTX.com
           302-658-9200                                        (Interested Party)
           302-658-3989 (fax)
           eschwartz@mnat.com
            Assigned: 12/28/2022
           Lisa M. Schweitzer                                    M 7 Holdings, LLC
           Cleary Gottlieb Steen & Hamilton       representing
                                                                 (Interested Party)



39 of 50                                                                                                            6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD    Doc 1688-2     Filed 06/22/23       Page 41 of 51

           One Liberty Plaza
           New York, NY 10006
           212-225-2629
           212-225-3999 (fax)
           lschweitzer@cgsh.com
             Assigned: 05/04/2023
           K. John Shaffer
           Quinn Emanuel Urquhart & Sullivan,
           LLP
                                                             FTX Trading Ltd.
           865 S. Figueroa Street
                                                             10-00011 Mandolin Place, Friars Hill Road
           10th Floor
                                                representing St. John's, AG AG-04
           Los Angeles, CA 90017
                                                             Antigua and Barbuda
           213-443-3000
                                                             (Debtor)
           johnshaffer@quinnemanuel.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Seth B. Shapiro
           US Dept of Justice, Civil Division
           Comercial Litigation Branch
           1100 L Street, NW Rm 10002
           Washington, DC 20005                                United States
                                                representing
           usa                                                 (Interested Party)
           202-514-7164
           202-307-0494 (fax)
           seth.shapiro@usdoj.gov
            Assigned: 11/21/2022
           Jennifer R Sharret
           Kramer Levin Naftalis & Frankel
           1177 Avenue of the Americas
           New York, NY
                                                               FTI Consulting Inc.
           212-715-9516                         representing
                                                               (Interested Party)
           212-715-8000 (fax)
           jsharret@kramerlevin.com
             Assigned: 02/14/2023
             LEAD ATTORNEY
           Mark D. Sherrill
           Sutherland Asbill & Brennan LLP
           1001 Fannin Street
           Suite 3700                                         Ad Hoc Committee of Non-US Customers of
           Houston, TX 77002                     representing FTX.com
           713-470-6100                                       (Interested Party)
           713-654--1301 (fax)
           marksherrill@eversheds-sutherland.com
            Assigned: 12/04/2022




40 of 50                                                                                                          6/21/23, 1:47 PM
Internal CM/ECF Live Database                                          https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23     Page 42 of 51

           David K. Shim
           MORGAN, LEWIS & BOCKIUS LLP
           101 Park Ave.                                    Joint Provisional Liquidators of Emergent
           New York, NY 10178                  representing Fidelity Technologies Ltd
           212-309-6000                                     (Liquidator)
           david.shim@morganlewis.com
            Assigned: 01/03/2023
            Assigned: 02/13/2023                            Emergent Fidelity Technologies Ltd.
            LEAD ATTORNEY                                   Unit 3B
                                                            Bryson's Commercial Complex
                                               representing Friars Hill Road
                                                            St. John's
                                                            Antigua and Barbuda
                                                            (Interested Party)
           John Christopher Shore
           White & Case LLP
           1221 Avenue of the Americas
                                                            Joint Provisional Liquidators of FTX Digital
           New York, NY 10020-1095
                                               representing Markets Ltd. (In Provisional Liquidation)
           212-819-8200
                                                            (Interested Party)
           cshore@whitecase.com
            Assigned: 11/22/2022
            LEAD ATTORNEY
           Peter A. Siddiqui
           Katten Muchin Rosenman LLP
           525 W. Monroe Street, Site 1900
           Chicago, IL 60661
                                                              Pyth Data Association
           312-902-5455                        representing
                                                              (Creditor)
           312-577-4628 (fax)
           peter.siddiqui@katten.com
            Assigned: 06/16/2023
            LEAD ATTORNEY
           Michael J. Small
           Foley & Lardner LLP                              Mercedes-Benz Grand Prix Limited
           321 North Clark Street                           c/o Ashby & Geddes, P.A .
           Suite 3000                                       500 Delaware Avenue
           Chicago, IL 60654                   representing 8th Floor
           312-832-4500                                     P.O. Box 1150
           312-832-4700 (fax)                               Wilmington, DE 19899
           msmall@foley.com                                 (Creditor)
            Assigned: 01/24/2023
           Martin A. Sosland
           Butler Snow LLP
           2911 Turtle Creek Blvd                             Evolve Bank & Trust
                                               representing
           Suite 1400                                         (Creditor)
           Dallas, TX 75219



41 of 50                                                                                                        6/21/23, 1:47 PM
Internal CM/ECF Live Database                                             https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD     Doc 1688-2     Filed 06/22/23       Page 43 of 51

           469-680-5502
           4696805501 (fax)
           Martin.Sosland@butlersnow.com
            Assigned: 11/22/2022
           Benjamin Joseph Steele
           Kroll Restructuring Administration LLC              Kroll Restructuring Administration LLC
           (F/K/A Prime Clerk LLC)                             (f/k/a Prime Clerk LLC)
           55 East 52nd Street                                 Kroll.com
           17th Floor                             representing 55 East 52nd Street 17th Floor
           New York, NY 10055                                  New York, NY 10055
           212-257-5490                                        212-257-5450
           bsteele@primeclerk.com                              (Claims Agent)
            Assigned: 12/18/2022
           Sabrina L. Streusand
                                                              Cloudflare, Inc.
           Streusand, Landon, Ozburn & Lemmon,
                                                              c/o Streusand, Landon, Ozburn & Lemmon
           LLP
                                                              1801 S Mopac Expressway
           1801 S. MoPac Expressway
                                                              Suite 320
           Suite 320
                                                 representing Austin, TX 78746
           Austin, TX 78746
                                                              512-236-9901
           512-236-9901
                                                              512-236-9904 (fax)
           512-236-9904 (fax)
                                                              streusand@slollp.com
           streusand@slollp.com
                                                              (Creditor)
            Assigned: 11/18/2022
           Xochitl S. Strohbehn
           Venable LLP
           1270 Avenue of the Americas
           24th Floor
                                                                Digital Augean, LLC
           New York, NY 10020                    representing
                                                                (Interested Party)
           (212) 307-5500
           (212) 307-5598 (fax)
           xsstrohbehn@venable.com
            Assigned: 11/21/2022
           Xochitl S. Strohbehn
           VENABLE LLP
           151 West 42nd St.
           48th Floor
                                                                OKC USA Holding Inc.
           New York, NY 10036                    representing
                                                                (Interested Party)
           2112-307-5500
           212-307-5598 (fax)
           xsstrohbehn@venable.com
            Assigned: 03/30/2023
                                                                Okcoin USA, Inc.
                                                                (Interested Party)
                                                                Aux Cayes FinTech Co. Ltd.
                                                                (Interested Party)



42 of 50                                                                                                           6/21/23, 1:47 PM
Internal CM/ECF Live Database                                            https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD    Doc 1688-2     Filed 06/22/23      Page 44 of 51

           Aaron H. Stulman
           Potter Anderson & Corroon LLP
           1313 N. Market Street, 6th Floor
           Wilmington, DE 19801                              Voyager Digital Holdings, Inc.
           302-984-6081                         representing (Creditor)
           302-658-1192 (fax)                                PRO SE
           astulman@potteranderson.com
            Assigned: 12/01/2022
             TERMINATED: 06/20/2023
                                                               Voyager Digital Ltd.
                                                               (Creditor)
                                                               PRO SE
                                                               Voyager Digital, LLC and affiliates
                                                               (Creditor)
                                                               PRO SE
           William D. Sullivan
           Sullivan Hazeltine Allinson LLC
           919 North Market Street, Suite 420
           Wilmington, DE 19801                                Word of God Fellowship, Inc.
                                                representing
           (302) 428-8191                                      (Creditor)
           (302) 428-8195 (fax)
           bsullivan@sha-llc.com
            Assigned: 12/12/2022
           Eric M. Sutty
           Armstrong Teasdale LLP
           1007 North Market Street
           Ste Third Floor                                     Miami-Dade County, Florida
                                                representing
           Wilmington, DE 19801                                (Creditor)
           302-416-9671
           esutty@atllp.com
            Assigned: 11/22/2022
           Judith Swartz
           Emmet, Marvin & Martin, LLP
           120 Broadway
           32nd Floor                                          Cadian Group Co.
                                                representing
           New York, NY 10271                                  (Creditor)
           (212) 238-3000
           jswartz@emmetmarvin.com
             Assigned: 03/03/2023
           Gregory A. Taylor                                 Mercedes-Benz Grand Prix Limited
           Ashby & Geddes                                    c/o Ashby & Geddes, P.A .
           500 Delaware Avenue, 8th Floor                    500 Delaware Avenue
                                                representing
           P.O. Box 1150                                     8th Floor
           Wilmington, DE 19899                              P.O. Box 1150
           302-654-1888                                      Wilmington, DE 19899


43 of 50                                                                                                          6/21/23, 1:47 PM
Internal CM/ECF Live Database                                                  https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD      Doc 1688-2      Filed 06/22/23         Page 45 of 51

           302-654-2067 (fax)
           gtaylor@ashbygeddes.com                                (Creditor)
            Assigned: 01/24/2023
           Paige Noelle Topper
           Morris Nichols Arsht & Tunnel
           1201 N. Market Street
                                                                Ad Hoc Committee of Non-US Customers of
           Wilmington, DE 19801
                                                   representing FTX.com
           302-658-9200
                                                                (Interested Party)
           302-658-3989 (fax)
           ptopper@morrisnichols.com
            Assigned: 12/04/2022
           KatieLynn B Townsend
           Reporters Committee for Freedom of the
           Press
           1156 15th St. NW
                                                               Bloomberg L.P.
           Suite 1020                             representing
                                                               (Interested Party)
           Washington, DC 20005
           202-795-9300
           ktownsend@rcfp.org
            Assigned: 04/18/2023
                                                                  Dow Jones & Company, Inc.
                                                                  (Interested Party)
                                                                  The Financial Times Ltd.
                                                                  (Interested Party)
                                                                  The New York Times Company
                                                                  (Interested Party)
           Ethan Trotz
           Katten Muchin Rosenman LLP
           525 West Monroe Street
                                                                  Pyth Data Association
           Chicago, IL 60661-3693                  representing
                                                                  (Creditor)
           312-902-5516
           ethan.trotz@katten.com
            Assigned: 06/16/2023
           Scott M Tucker
           Chimicles Schwartz Kriner &
           Donaldson-Smith LLP
           2711 Centerville Road
                                                                  Austin Onusz
           Suite 201                               representing
                                                                  (Interested Party)
           Wilmington, DE 19808
           302-656-2500
           smt@chimicles.com
            Assigned: 03/29/2023




44 of 50                                                                                                                6/21/23, 1:47 PM
Internal CM/ECF Live Database                                              https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD      Doc 1688-2     Filed 06/22/23       Page 46 of 51

                                                                 Cedric van Putten
                                                                 (Interested Party)
                                                                 Hamad Dar
                                                                 (Interested Party)
                                                                 Nicholas Marshall
                                                                 (Interested Party)
           Jane VanLare
                                                               BitGo Trust Company, Inc.
           Cleary Gottlieb Steen & Hamilton LLP
                                                               C/O Ashby & Geddes, P.A.
           One Liberty Plaza
                                                               500 Delaware Avenue
           New York, NY 10006
                                                  representing 8th Floor
           (212) 225-2872
                                                               P.O. Box 1150
           (212) 225-3999 (fax)
                                                               Wilmington, DE 19899
           jvanlare@cgsh.com
                                                               (Interested Party)
            Assigned: 12/08/2022
           Robert B. Wasserman
                                                               Commodity Futures Trading Commission
           U.S. Commodity Futures Trading
                                                               1155 21st Street NW
           Commissio
                                                               Washington, DC 20016
           1155 21st Street NW
                                                  representing 202-993-1390
           Washington, DC 20581
                                                               202-418-5567 (fax)
           202-418-5092
                                                               mwhite@cftc.gov
           rwasserman@cftc.gov
                                                               (Interested Party)
            Assigned: 05/04/2023
           Carol A. Weiner
           Venable LLP
           1270 Avenue of the Americas
           24th Floor
                                                                 Digital Augean, LLC
           New York, NY 10020                     representing
                                                                 (Interested Party)
           212-307-5500
           212-307-5598 (fax)
           cweinerlevy@venable.com
            Assigned: 11/21/2022
            Assigned: 01/03/2023                               Ad Hoc Committee of Customers and Creditors
            LEAD ATTORNEY                         representing of FTX Trading Ltd. et al.
                                                               (Creditor)
           Carol A. Weiner
           VENABLE LLP
           151 West 42nd St.
           48th Floor
                                                                 Aux Cayes FinTech Co. Ltd.
           New York, NY 10036                     representing
                                                                 (Interested Party)
           212-307-5500
           212-307-5598 (fax)
           cweinerlevy@venable.com
            Assigned: 03/30/2023




45 of 50                                                                                                            6/21/23, 1:47 PM
Internal CM/ECF Live Database                                          https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD    Doc 1688-2   Filed 06/22/23       Page 47 of 51

                                                             OKC USA Holding Inc.
                                                             (Interested Party)
                                                             Okcoin USA, Inc.
                                                             (Interested Party)
           Morris D. Weiss
           Holland & Knight LLP                              Charles Mason
           100 Congress Avenue                               CIARDI CIARDI & ASTIN
           Suite 1800                                        1905 Spruce Street
           Austin, TX 78701                     representing Philadelphia, PA 19103
           (512) 685-6417                                    215-557-3550
           512-685-6418 (fax)                                aciardi@ciardilaw.com
           Morris.Weiss@wallerlaw.com                        (Interested Party)
            Assigned: 12/19/2022
                                                             Peter Lau
                                                             CIARDI CIARDI & ASTIN
                                                             1905 Spruce Street
                                                             Philadelphia, PA 19103
                                                             215-557-3550
                                                             aciardi@ciardilaw.com
                                                             (Interested Party)
           David A. Wender
           EVERSHEDS SUTHERLAND
           999 Peachtree Street, NE
           Suite 2300
                                                             Ad Hoc Committee of Non-US Customers of
           Atlanta, GA 30309-3996
                                                representing FTX.com
           404-853-8175
                                                             (Interested Party)
           404-853-8806 (fax)
           davidwender@eversheds-
           sutherland.com
            Assigned: 05/15/2023
           Jonathan Michael Weyand
           Morris, Nichols, Arsht and Tunnell
           1201 N. Market St.
           16th Floor                                        Ad Hoc Committee of Non-US Customers of
           P.O. Box 1347                        representing FTX.com
           Wilmington, DE 19899-1347                         (Interested Party)
           302-553-5964
           jweyand@morrisnichols.com
            Assigned: 03/28/2023
           Martin B. White                                   Commodity Futures Trading Commission
           U.S. Commodity Futures Trading                    1155 21st Street NW
           Commission                                        Washington, DC 20016
                                                representing
           1155 21st Street, N.W.                            202-993-1390
           Washington, DC 20581                              202-418-5567 (fax)
           202-993-1390                                      mwhite@cftc.gov


46 of 50                                                                                                        6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 48 of 51

           202-418-5567 (fax)
           mwhite@cftc.gov                                    (Interested Party)
            Assigned: 05/01/2023
           Scott C. Williams
           Manier & Herod, P.C.
           1201 Demonbreun Street
           Suite 900
                                                              Philadelphia Indemnity Insurance Company
           Nashville, TN 37213                 representing
                                                              (Creditor)
           615-742-9370
           615-242-4203 (fax)
           swilliams@manierherod.com
            Assigned: 11/21/2022
           Christopher K.S. Wong
           Arent Fox LLP
           555 West Fifth Street
           48th Floor
                                                              BH Trading Ltd.
           Los Angeles, CA 90013               representing
                                                              (Interested Party)
           213-629-7400
           213-629-7401 (fax)
           christopher.wong@arentfox.com
            Assigned: 01/30/2023
                                                              Grant Kim
                                                              (Interested Party)
                                                              Peter Kim
                                                              (Interested Party)
           Elie J. Worenklein
           Debevoise & Plimpton LLP
                                                            Lightspeed Strategic Partners I L.P. and
           66 Hudson Boulevard
                                               representing Lightspeed Opportunity Fund, L.P.
           New York, NY 10001
                                                            (Creditor)
           eworenklein@debevoise.com
            Assigned: 01/09/2023
           Rongping Wu
           DGW Kramer LLP
           One Rockefeller Plaza
           Suite 1060
                                                              DAG Holdings Limited
           New York, NY 10020                  representing
                                                              (Interested Party)
           917-633-6860
           917-633-6183 (fax)
           lwu@dgwllp.com
            Assigned: 12/02/2022
                                                              Ben Li
                                                              (Interested Party)




47 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                         https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2   Filed 06/22/23       Page 49 of 51

                                                            Chris Curl Lee
                                                            (Interested Party)
                                                            Haici Gao
                                                            (Interested Party)
                                                            Hongcheng Huang
                                                            (Interested Party)
                                                            Hongyuan Zhai
                                                            (Interested Party)
                                                            Huayang Zhou
                                                            (Interested Party)
                                                            Jingkuan Hou
                                                            (Interested Party)
                                                            Jyunyu Chen
                                                            (Interested Party)
                                                            Ke Wang
                                                            (Interested Party)
                                                            Lingling Li
                                                            (Interested Party)
                                                            Lu Yu
                                                            (Interested Party)
                                                            Qilin Chen
                                                            (Interested Party)
                                                            Shupei Chen
                                                            (Interested Party)
                                                            Simin Jiang
                                                            (Interested Party)
                                                            Siyuan Yan
                                                            (Interested Party)
                                                            Tianqi Huang
                                                            (Interested Party)
                                                            Weiyang Zhou
                                                            (Interested Party)
                                                            Wenchao Tan
                                                            (Interested Party)
                                                            Xiao Li
                                                            (Interested Party)




48 of 50                                                                                                       6/21/23, 1:47 PM
Internal CM/ECF Live Database                                           https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD   Doc 1688-2     Filed 06/22/23       Page 50 of 51

                                                              Yan Tang
                                                              (Interested Party)
                                                              Yijian Feng
                                                              (Interested Party)
                                                              Yingkai Xu
                                                              (Interested Party)
           Patrick Yarborough
           Foster Yarborough PLLC                           Warren Winter
           917 Franklin Street                              c/o Foster Yarborough
           Suite 220                                        917 Franklin Street
           Houston, TX 77002                   representing Suite 220
           (713) 331-5254                                   Houston, TX 77002
           (713) 513-5202 (fax)                             713-331-5084
           patrick@fosteryarborough.com                     (Creditor)
            Assigned: 01/06/2023
           Jason Zakia
           White & Case LLP
           111 S. Wacker Drive
           Suite 5100                                         Brian C. Simms
                                               representing
           Chicago, IL 60606                                  (Interested Party)
           312-881-5400
           jzakia@whitecase.com
             Assigned: 01/04/2023
           Jason N. Zakia
           White & Case LLP
           111 South Wacker Drive
           Suite 5100                                         Kevin G. Cambridge
                                               representing
           Chicago, IL 60606                                  (Interested Party)
           312-881-5400
           jzakia@whitecase.com
             Assigned: 01/04/2023
                                                              Peter Greaves
                                                              (Interested Party)
           Matthew C. Ziegler
           Morgan Lewis & Bockius LLP
           1701 Market St                                   Joint Provisional Liquidators of Emergent
           Philadelphia, PA 19103              representing Fidelity Technologies Ltd
           215-963-5000                                     (Liquidator)
           matthew.ziegler@morganlewis.com
            Assigned: 01/03/2023
            Assigned: 02/13/2023                            Emergent Fidelity Technologies Ltd.
            LEAD ATTORNEY                                   Unit 3B
                                               representing
                                                            Bryson's Commercial Complex



49 of 50                                                                                                         6/21/23, 1:47 PM
Internal CM/ECF Live Database                                                      https://ecf.deb.uscourts.gov/cgi-bin/qryAttorneys.pl?188450
                           Case 22-11068-JTD        Doc 1688-2       Filed 06/22/23          Page 51 of 51

                                                                    Friars Hill Road
                                                                    St. John's
                                                                    Antigua and Barbuda
                                                                    (Interested Party)
           Celine E. de la Foscade-Condon
           Massachusetts Dept. of Revenue
                                                                 Massachusetts Department of Revenue
           100 Cambridge Street
                                                                 Litigation Bureau
           PO Box 9565
                                                                 100 Cambridge Street
           Boston, MA 02114                         representing
                                                                 PO Box 9565
           617-626-3854
                                                                 Boston, MA 02114
           617-626-3289 (fax)
                                                                 (Creditor)
           delafoscac@dor.state.ma.us
            Assigned: 01/04/2023


                                                  PACER Service Center
                                                     Transaction Receipt
                                                         06/21/2023 13:21:44
                                PACER Login:      reporters       Client Code:
                                Description:      Attorney List Search Criteria:      22-11068-JTD
                                Billable Pages:   22              Cost:               2.20




50 of 50                                                                                                                    6/21/23, 1:47 PM
